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                               IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF DELAWARE

In re:                                                    )         Chapter 11
                                                          )
W. R. GRACE & CO., et al., 1                              )         Case No. 01-1139 (JJF)
                                                          )         Jointly Administered
                                Debtors.                  )
                                                                     Objection Deadline: August 22, 2001 at 4:00 p. m.
                                                                                    Hearing Date: To Be Determined

                      NOTICE OF FILING OF QUARTERLY FEE APPLICATION

               To: (1) The Debtors; (2) Office of the United States Trustee; (3) Counsel to the
Official Committee of Unsecured Creditors; (4) Counsel to the Official Committee of Personal
Injury Claimants; (5) Counsel to the Official Committee of Property Damage Claimants; (6)
Counsel to the debtor- in-possession lenders (the “DIP Lenders”); and (7) Counsel to the Official
Committee of Equity Holders.


                      Kirkland & Ellis, bankruptcy co-counsel to the above-captioned debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), filed

and served the First Quarterly Interim Verified Application of Kirkland & Ellis for

Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to W. R.



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  The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A -1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A -B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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Grace & Co., Et Al., for the Interim Period from April 2, 2001 through June 30, 2001, seeking

compensation for the reasonable and necessary services rendered to the Debtors in the amount of

$1,753,799.50 and reimbursement for actual and necessary expenses in the amount of

$155,393.83 (the “Fee Application”).

                   Objections or responses to the Fee Application, if any, must be made in writing

and filed with the United States Bankruptcy Court for the District of Delaware, Marine Midland

Plaza, 824 Market Street, 6th Floor, Wilmington, Delaware 19801, on or before August 22, 2001

at 4:00 p.m.

                   At the same time, you must also serve a copy of the objections or responses, if

any, upon the following: (i) co-counsel for the Debtors, James H.M. Sprayregen, Esquire,

Kirkland & Ellis, 200 East Randolph Drive, Chicago, Illinois 60601 (fax number 312-861-

2200), and Laura Davis Jones, Esquire, Pachulski, Stang, Ziehl, Young & Jones P.C., 919 North

Market Street, Suite 1600, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801) (fax

number 302-652-4400); (ii) counsel to the Official Committee of Unsecured Creditors, Lewis

Kruger, Esquire, Stroock & Stroock & Lavan, 180 Maiden Lane, New York, New York 10038-

4982 (fax number 212-806-6006), and Michael R. Lastowski, Esquire, Duane, Morris &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, Delaware 19801-1246 (fax

number 302-657-4901); (iii) counsel to the Official Committee of Property Damage Claimants,

Scott L. Baena, Esquire, Bilzin, Sumberg, Dunn, Baena, Price & Axelrod, First Union Financial

Center, 200 South Biscayne Boulevard, Suite 2500, Miami, Florida 33131 (fax number 305-

374-7593), and Michael B. Joseph, Esquire, Ferry & Joseph, P.A., 824 Market Street, Suite 904,
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P.O. Box 1351, Wilmington, Delaware 19899 (fax number 302-575-1714); (iv) counsel to the

Official Committee of Personal Injury Claimants, Elihu Inselbuch, Esquire, Caplin & Drysdale,

399 Park Avenue, 36th Floor, New York, New York 10022 (fax number 212-644-6755), and

Matthew G. Zaleski, III, Esquire, Campbell & Levine, LLC, Chase Manhattan Centre, 15th Floor,

1201 Market Street, Suite 1500, Wilmington, Delaware 19801 (fax number 302-426-9947); (v)

counsel to the DIP Lenders, J. Douglas Bacon, Esquire, Latham & Watkins, Sears Tower, Suite

5800, Chicago, Illinois 60606 (fax number 312-993-9767), and Steven M. Yoder, Esquire, The

Bayard Firm, 222 Delaware Avenue, Suite 900, P.O. Box 25130, Wilmington, Delaware 19899

(fax number 302-658-6395); (vi) the Office of the United States Trustee, Attn: Frank J. Perch,

Esquire, 844 N. King Street, Wilmington, Delaware 19801 (fax number 302-573-6497); and

(vii) counsel to the Official Committee of Equity Holders, Thomas M. Mayer, Esquire, Kramer

Levin Naftalis & Frankel LLP, 919 Third Avenue, New York, New York 10022 (fax number

212-715-8000).




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                  A HEARING ON THE FEE APPLICATION WILL BE HELD AT THE

COURT’S CONVENIENCE AT A TIME TO BE DETERMINED.                                   NOTICE OF SUCH

HEARING WILL BE PROVIDED TO THE PARTIES SET FORTH ABOVE AND TO ALL

PARTIES THAT HAVE REQUESTED SUCH NOTICE PURSUANT TO FED. R. BANKR. P.

2002.

Dated: August 2, 2001                         KIRKLAND & ELLIS
                                              James H.M. Sprayregen
                                              James W. Kapp III
                                              Samuel A. Schwartz
                                              Roger J. Higgins
                                              200 East Randolph Drive
                                              Chicago, Illinois 60601
                                              (312) 861-2000

                                                     and

                                              PACHULSKI, STANG, ZIEHL, YOUNG & JONES P.C.


                                              s/s David W. Carickhoff, Jr.________________________
                                              Laura Davis Jones (Bar No. 2436)
                                              Hamid R. Rafatjoo (California Bar No. 181564)
                                              David W. Carickhoff Jr. (Ba r No. 3715)
                                              919 North Market Street, 16th Floor
                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705 (Courier 19801)
                                              Telephone: (302) 652-4100
                                              Facsimile: (302) 652-4400

                                              Co-counsel for Debtors and Debtors in Possession




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